Filed 8/21/24 Morgan v. Zarco Hotels CA2/2
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions
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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                        SECOND APPELLATE DISTRICT

                                        DIVISION TWO


TRACI MORGAN,                                             B332319

         Plaintiff and Appellant,                         (Los Angeles County
                                                          Super. Ct. No. 22STCV07447)
         v.

ZARCO HOTELS
INCORPORATED,

     Defendant and
Respondent.




     APPEAL from a judgment of the Superior Court of Los
Angeles County, Stephen I. Goorvitch, Judge. Reversed.
     Potter Handy, Russell Handy; Seabock Price and Sara
Johnson for Plaintiff and Appellant.
     Jeffer Mangels Butler &amp; Mitchell, Martin H. Orlick,
Stuart K. Tubis and Christopher Whang for Defendant and
Respondent.
      The sole issue in this appeal is the propriety of an attorney
fees award against a party’s attorney under section 12205 of the
Americans with Disabilities Act (42 U.S.C. § 12205)1 (ADA). The
ADA does not authorize assessment of attorney fees against a
party’s counsel. We therefore reverse the attorney fees award
and the judgment enforcing the award.

                        BACKGROUND
The parties
       Plaintiff Traci Morgan (plaintiff) suffers from Usher
Syndrome Type II, a condition that renders her partially deaf and
partially blind. She uses screen reader software (SRS) to
navigate the Internet. Defendant Zarco Hotels Incorporated
(defendant) owns and operates the Hollywood Hotel and the
hotel’s Web site, which offers digital booking and other services to
potential customers. Real party in interest Center for Disability
Access (plaintiff’s counsel) represented plaintiff in this action.
Plaintiff’s complaint
       Plaintiff commenced this action on March 1, 2022, alleging
she attempted to navigate defendant’s hotel Web site to locate
accommodations but was unable to do so using SRS because of
“numerous accessibility design defaults.” Her complaint asserted
two causes of action—violation of the Unruh Civil Rights Act
(Civ. Code, § 51, subds. (b), (f)) and violation of Business and
Professions Code section 17200. Although plaintiff asserted no
cause of action under the ADA, her complaint alleged that
jurisdiction was proper “because Plaintiff seeks a permanent


1     All further statutory references are to the ADA unless
stated otherwise.




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injunction ordering compliance with the [ADA],” that defendant’s
actions “violate the [ADA],” and that “[p]ursuant to 42 U.S.C.
§ 12188 and the remedies, procedures and rights set forth and
incorporated therein, Plaintiff requests relief as set forth below.”
In the complaint’s prayer for relief, plaintiff sought “injunctive
relief under the Business and Professions Code, compelling
Defendants to honor the rights of the plaintiff under the [ADA]
and the Unruh Civil Rights Act” and “[a] Declaratory Judgment
that at the commencement of this action Defendants were in
violation of the requirements of the ADA due to Defendants’
failures to take action to ensure that its websites were fully
accessible to and independently usable by visually-impaired
individuals . . . .”
Defendant’s summary judgment motion and plaintiff’s
dismissal of the action
       Early in the litigation, defendant’s counsel contacted
plaintiff’s counsel and explained that the hotel’s Web site was
fully accessible and compliant with law, that plaintiff’s claims
lacked merit, and that her lawsuit should be dismissed. On
August 18, 2022, defendant filed a motion for summary
judgment, supported by the declaration of Craig Davis, an expert
who conducted an accessibility audit of the hotel Web site and
attested to its accessibility by persons using SRS. Plaintiff did
not oppose the summary judgment motion and dismissed the
action on September 26, 2022.
Motion for attorney fees
       Defendant filed a motion for attorney fees under section
12205 of the ADA, Code of Civil Procedure section 1021.5, and
California Rules of Court, rule 3.1702, arguing that plaintiff’s
action lacked merit because the hotel’s Web site complied with




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the ADA, the Unruh Civil Rights Act, and relevant law.
Defendant sought to recover its fees as against plaintiff and her
attorneys, arguing that plaintiff’s counsel had engaged in serial
lawsuits against small businesses, including a previous, nearly
identical lawsuit against defendant that was voluntarily
dismissed after defendant filed a motion for summary judgment.
      In opposing the motion, plaintiff’s counsel argued that
section 12205 did not apply because no cause of action had been
asserted under the ADA. The trial court found, however, that the
action came within the purview of the ADA because plaintiff
“clearly and expressly sought to invoke” the remedies,
procedures, and rights of the ADA, including a permanent
injunction ordering compliance with the ADA. The trial court
further found plaintiff’s action was meritless, frivolous,
unreasonable, and without foundation, based on defendant’s
evidence and plaintiff’s failure to present any evidence
supporting the merits of her case.
      The trial court denied the motion in its entirety as to
plaintiff, finding no evidence that she did anything improper.
The trial court denied the motion as to plaintiff’s counsel under
Code of Civil Procedure section 1021.5, rejecting evidence outside
the record of alleged misconduct by plaintiff’s attorneys and
concluding defendant’s opposition of one meritless lawsuit did not
convey the public benefit contemplated by the statute.2 The court



2     Code of Civil Procedure section 1021.5 provides in part:
“Upon motion, a court may award attorneys’ fees to a successful
party against one or more opposing parties in any action which
has resulted in the enforcement of an important right affecting
the public interest if . . . a significant benefit, whether pecuniary




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granted the motion in part under section 12205, finding the
parties’ communications in April 2022 should have put plaintiff’s
counsel on notice of the problems with the case, which the court
found to be frivolous, unreasonable, and without foundation. The
trial court ordered plaintiff’s counsel to pay $55,414.84 in
attorney fees incurred on or after May 1, 2022. A judgment
enforcing the attorney fees order was entered on October 18,
2023. Plaintiff and her attorneys appealed.

                             DISCUSSION
I.    Applicable law and standard of review
      The ADA prohibits discrimination based on disability in the
enjoyment of public accommodations, including access to public
accommodations. (42 U.S.C. § 12182.) A Web site is a “public
accommodation” under the ADA if it is connected to a physical
place of public accommodation. (Thurston v. Midvale Corp.
(2019) 39 Cal.App.5th 634, 644.)
      The ADA includes a bilateral fee shifting provision that
allows the prevailing party to recover reasonable attorney fees.
Section 12205 states: “In any action or administrative proceeding
commenced pursuant to this Act, the court or agency, in its
discretion, may allow the prevailing party, other than the United
States, a reasonable attorney’s fee, including litigation
expenses . . . and costs . . . .” A prevailing defendant, however,
can only recover attorney fees if the ADA claim was frivolous.
(Christiansburg Garment Co. v. EEOC (1978) 434 U.S. 412, 416-
417; Jankey v. Lee (2012) 55 Cal.4th 1038, 1047-1048.) Under the


or nonpecuniary, has been conferred on the general public or a
large class of persons . . . .”




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ADA, “prevailing defendants may receive fees only when the trial
court finds that a plaintiff’s claim is ‘frivolous, unreasonable, or
groundless, or that the plaintiff continued to litigate after it
clearly became so.’” (Jankey, at p. 1048.)
       We review de novo whether there was a legal basis to
award attorney fees against plaintiff’s counsel under the ADA.
(See Shisler v. Sanfer Sports Cars, Inc. (2008) 167 Cal.App.4th 1,
6 [legal basis for attorney fees award is reviewed de novo].)
II.    Applicability of the ADA
       Section 12205 applies to “any action . . . commenced
pursuant to [the ADA].” We reject plaintiff’s counsel’s argument
that section 12205 does not apply because plaintiff asserted no
cause of action under the ADA. As the trial court noted, plaintiff
in her complaint clearly and expressly invoked the “remedies,
procedures and rights” of the ADA. Her prayer for relief sought
an injunction “compelling Defendants to honor the rights of
plaintiff under the [ADA]” as well as “[a] Declaratory Judgment
that at the commencement of this action Defendants were in
violation of the requirements of the ADA.” These allegations
were sufficient to bring plaintiff’s action within the purview of
the ADA including section 12205.
III. Attorney fees award against counsel under the ADA
       A court may award attorney fees only when authorized by
statute or by the parties’ agreement. (Olmstead v. Arthur J.
Gallagher &amp; Co. (2004) 32 Cal.4th 804, 809.) “Fee awards
against attorneys are ordinarily available only as sanctions and
are generally not allowed under routine fee-shifting
provisions . . . .” (Moore v. Kaufman (2010) 189 Cal.App.4th 604,
615.)




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       “[T]rial courts may not award attorney fees as a sanction
for misconduct absent statutory authority (or an agreement of the
parties).” (Clark v. Optical Coating Laboratory, Inc. (2008) 165
Cal.App.4th 150, 164.) “Legislative silence on whether attorney
fees may be assessed against counsel does not constitute
statutory authority for sanctions against counsel.” (Suarez v.
City of Corona (2014) 229 Cal.App.4th 325, 334 (Suarez).)
       Section 12205 of the ADA does not expressly authorize an
award of attorney fees as sanctions against a party’s counsel.
The statute’s silence as to whether attorney fees may be assessed
against a party’s counsel does not authorize a court to do so.
(Suarez, supra, 229 Cal.App.4th at p. 334.) Defendant cites no
case in which attorney fees under the ADA have been assessed
against a party’s counsel, and we have found none. Rather, case
law supports the presumption that fee-shifting statutes apply
only to parties unless the statute expressly states otherwise.
       In Roadway Express, Inc. v. Piper (1980) 447 U.S. 752 for
example, the Supreme Court examined fee-shifting provisions in
title 42 United States Code sections 1988 and 2000e-5(k), which
allowed successful plaintiffs “a reasonable attorney’s fee as part
of the costs” (Piper, at p. 758, fn. 5), without specifying who was
responsible for payment of such fees. The Supreme Court
declined to make lawyers responsible for fees under those
statutes, noting that “[n]either § 1988 nor § 2000e-5(k) makes
any mention of attorney liability for costs and fees.” (Piper, at
p. 761.) Federal and California appellate courts have applied this
same principle to other similar fee-shifting statutes. (See, e.g.,
Peer v. Liberty Life Assurance Company of Boston (11th Cir. 2021)
992 F.3d 1258, 1262 [ERISA’s fee-shifting statute giving court
discretion to “‘allow a reasonable attorney’s fee and costs of action




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to either party’” does not authorize court to require an attorney to
pay another party’s fees]; In re Crescent City Estates, LLC (4th
Cir. 2009) 588 F.3d 822, 828 [28 U.S.C. § 1447(c) fee-shifting
provision does not authorize attorney fees assessment against
party’s counsel]; Durrett v. Jenkins Brickyard, Inc. (11th Cir.
1982) 678 F.2d 911, 915 [Title VII’s fee-shifting provision does not
authorize attorney fees award against counsel]; Suarez, supra,229 Cal.App.4th at pp. 334-335 [Code Civ. Proc., § 1038
empowering court to award prevailing party its defense costs did
not authorize imposition of defense costs against a party’s
attorney]; Moore v. Kaufman, supra, 189 Cal.App.4th at p. 615
[anti-SLAPP statute’s fee-shifting provision does not authorize
award of attorney fees against a party’s attorney]; Doyle v.
Superior Court (1991) 226 Cal.App.3d 1355, 1358-1359 [Code Civ.
Proc., § 409.3, permitting attorney fees award in favor of
prevailing party, but silent as to whom the award may be
assessed against, did not authorize fee award as sanctions
against nonprevailing party’s attorney].) These cases interpret
fee-shifting statutes with language similar to that of section
12205. Like it, the statutes at issue in the cited cases give courts
discretion to award attorney fees but do not specify who must pay
those fees; and courts have uniformly disallowed an attorney fees
award against a party’s counsel. We interpret section 12205 of
the ADA similarly. “[F]ee-shifting statutes’ similar language is ‘a
strong indication’ that they are to be interpreted alike.”
(Independent Federation of Flight Attendants v. Zipes (1989) 491
U.S. 754, 758, fn. 2; see In re Cresent City Estates, LLC, supra,588 F.3d at p. 829.) Section 12205 of the ADA does not authorize
assessment of attorney fees against a party’s attorney.




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                         DISPOSITION
     The judgment is reversed. The parties shall each bear their
own respective costs on appeal.


                                   ___________________________
                                   CHAVEZ, J.

We concur:


_______________________________
ASHMANN-GERST, Acting P. J.


_______________________________
HOFFSTADT, J.




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